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                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                       Case No.: 17-cv-60426-UU

   ALEKSEJ GUBAREV, XBT HOLDING S.A.,
   AND WEBZILLA, INC.

         Plaintiffs,

   vs.

   BUZZFEED, INC. AND BEN SMITH,

     Defendants.
   ____________________________________/



    DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO SUPPLEMENT THE
    RECORD WITH THE HOROWITZ REPORT AND FOR AN INDICATIVE RULING

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           Defendants respectfully submit this Opposition to Plaintiffs’ Motion to Supplement the
  Record with the Horowitz Report (the “Report”) and for an Indicative Ruling, Dkt. 446 (“Mot.”)
                                     PRELIMINARY STATEMENT
           This motion seeks an extraordinary remedy in the absence of extraordinary
  circumstances. Plaintiffs’ motion is the result of a remand by the Eleventh Circuit “for the
  limited purpose of permitting Plaintiffs to move the district court for relief that would allow the
  District Court to supplement the record with the Horowitz Report.” Now that their motion has
  been filed here, its own arguments make clear why it should be denied. The motion asks this
  Court to add newly-discovered evidence to the record and then indicate it would alter its
  judgment on the basis of that evidence. So despite Plaintiffs’ efforts to call it something else, it
  is a Rule 60(b)(2) motion that the Federal Rules of Civil Procedure require to be brought within
  one year of judgment – a deadline Plaintiffs could have, but simply failed to meet.
            Even if this motion was timely, it should make no difference because Plaintiffs also fail
  to satisfy any of the substantive criteria courts use to decide whether judgments should be
  reconsidered based on newly-discovered evidence. Plaintiffs cannot demonstrate reasonable
  diligence, because they made no effort to discover anything about the government’s receipt or
  use of Report 166 when they had the opportunity. To the contrary, they insisted such facts were
  wholly irrelevant and tried to obstruct Defendants’ discovery on that subject. Nor, in any event,
  would the Report affect the result here. The Report does not, nor does it even purport to,
  contradict the declaration from then-Assistant FBI Director E.W. Priestap. And in any event, it
  is well-established that newly-discovered information that is merely proffered to purportedly
  impeach testimony in the original record is not a basis to disturb a judgment.
           Finally, even if the Report did contradict the Priestap declaration, it would not affect the
  application of the fair report privilege here, for either of two reasons. First, other evidence in the
  record speaks to other members of the intelligence community involved in advising and briefing
  the President possessing Report 166, evidence Plaintiffs fail to even mention. But even if that
  were not so, the Report makes abundantly clear just how central Christopher Steele’s Dossier
  reports were to the government’s investigation of and decision-making about Russian
  interference in the 2016 election – starting in the summer of 2016 and continuing into 2017 for
  long after BuzzFeed published them. The Report further makes clear that Report 166 was
  written by Steele for the same reasons, was made available to the FBI and other government



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  officials through some of the same channels, and was actually investigated by the FBI in the
  same way as the other sixteen Dossier reports were. The primary purpose of the fair report
  privilege is to enable the public to assess government conduct, and the very fact that the
  Inspector General thought it important to release a 476-page Report to assess the propriety of
  government conduct with the Dossier, including Report 166, further reinforces why the Court
  was correct when it held that its publication was protected by that privilege.
           This Court should therefore reject the efforts of Plaintiffs and their amici to reargue
  summary judgment in this case and deny the motion to supplement.
                                           FACTUAL BACKGROUND
           In the fall of 2017, as part of discovery, Defendants brought a motion to compel against
  several government agencies and two former officials, seeking admissible evidence in support of
  their fair and true report defense. On August 3, 2018, Judge Mehta of the D.C. federal district
  court granted the motion to compel. See BuzzFeed, Inc. v. Dep’t of Justice, 318 F. Supp. 3d 347
  (D.D.C. 2018). He ordered that the government “produce a sworn affidavit that is responsive” to
  three questions. In response to that decision, the government produced a declaration from E.W.
  Priestap, who was then the Assistant Director of the FBI’s Counterintelligence Division, charged
  with “directing the conduct of FBI counterintelligence investigations.” D.E. 214-11 (the
  “Priestap Declaration”) ¶ 1. Among other items, the declaration stated:
           (U) Revised Narrowed Topic No. 3(A): Prior to 5:20 p.m. EST on January 10, 2017, did
           the FBI possess the two-page memorandum contained within the Dossier dated
           December 13, 2016, i.e., Report 2016/166?
                     1.       (U) Response to Revised Narrowed Topic No. 3(A): Yes.
  D.E. 214-11 ¶ 6(a) (internal footnote omitted). Pursuant to 28 U.S.C. § 1746, Assistant Director
  Priestap “declare[d] under penalty of perjury that the foregoing is true and correct.” Id. at 3.
           This Court entered summary judgment for Defendants on December 19, 2018, D.E. 389,
  holding that BuzzFeed’s publication was protected by New York’s fair and true report privilege.
  The Court’s 23-page order mentioned the Priestap Declaration’s evidence that the FBI possessed
  Report 166 twice, along with evidence in the record about other agencies or public officials, like
  the National Security Council, who also possessed it. D.E. 388 at 6, 15. The Court noted that
  “although the FBI admitted that it had a copy of Report 166 prior to BuzzFeed’s publication of
  the full Dossier, the record does not reveal what, if any, official action was taken with respect to


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  it,” id. at 15, but went on to hold that the privilege nonetheless applied because “Report 166
  discusses two issues that were indisputably the subject of official action,” including “allegations
  of cooperation between Trump’s ‘team’ and Russian operatives.” Id. at 17.
           On December 9, 2019, the Department of Justice’s Office of the Inspector General
  released the redacted public version of a report entitled Review of Four FISA Applications and
  Other Aspects of the FBI’s Crossfire Hurricane Investigation, the result of that office’s review of
  “certain actions by the [FBI] and the Department during an FBI investigation ... into whether
  individuals associated with the Donald J. Trump for President Campaign were cooperating,
  wittingly or unwittingly, with the Russian government[].” Report at 1. The portions of the 476-
  page Report that discuss the Dossier detail just how central it was to official activity and
  decision-making regarding Russian interference in the 2016 election, even more so than was
  known at the time this Court entered summary judgment – and starting many months before
  BuzzFeed published the document and continuing for many months afterwards. The Report also
  states that the FBI actually investigated the allegations in Report 166 that “anti-Clinton hackers”
  were paid by Michael Cohen, which would include Plaintiffs. Report at 176.
           The release of the Report on December 9, 2019 came as no surprise to anyone, as it had
  been widely anticipated for months and it instantly made headlines around the world. Exs. 1-7.
  Tellingly, the day after the Report was released, counsel for the plaintiffs in related litigation in
  New York state court emailed Defendants’ counsel to inquire about modifying the summary
  judgment briefing schedule in that case to address the Report. Ex. 8. On December 16, 2019,
  the plaintiffs in that case filed a reply brief and accompanying affirmation which attached and
  discussed the Report. Exs. 9-10. Those plaintiffs had also filed two amicus briefs in the
  Eleventh Circuit supporting the appeal of Plaintiffs in this case, and they have now re-filed those
  briefs on this motion as well. D.E. 449-1, 449-2.
           When the Report was released, Plaintiffs had ten more days to file a motion under Rule
  60(b)(2) to seek the relief they seek now, but they took no action in this Court. Rather, they
  waited three weeks to bring, on December 30, 2019, a “time-sensitive” motion directly in the
  Eleventh Circuit requesting leave to supplement the record on appeal with the Report or, in the
  alternative, that the Eleventh Circuit “remand the case for a determination, within two months, of
  the limited question of whether, in the District Court’s view, the Horowitz Report is cause for
  reversal of the grant of summary judgment for Defendants on the issue of privilege.” Ex. 11 at


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  11-12. In other words, Plaintiffs asked the Eleventh Circuit to do two things: first, to supplement
  the record with the Report, and, second, to then either consider the Report “in the first instance”
  or, alternatively, remand the case to the district court for no more than two months “for limited
  reconsideration of a grant of summary judgment in light of the supplementation.” Id. at 27.
           On March 13, 2020, the Eleventh Circuit issued an order that did not grant the relief
  Plaintiffs had requested. Specifically, the Court did not grant their motion to supplement, nor did
  it remand the case to this Court to require it to consider the record as supplemented. To the
  contrary, the order emphasized that the Court “takes no position on whether the record should be
  supplemented.” D.E. 443 at 1. Rather, the Court ordered that the case be remanded to this Court
  “for the limited purpose of permitting Plaintiffs to move the district court for relief that would
  allow the district court to supplement the record with the Horowitz Report.” Id. at 1 (emphasis
  added). The Court further instructed that “[i]f the district court issues an order stating that the
  record should be supplemented and the Horowitz Report would alter the court’s previously
  issued summary judgment order, the parties shall seek a full remand of this case.” Id. at 2.
                                             ARGUMENT
           Many of Plaintiffs’ arguments simply express their disagreement and dissatisfaction with
  various aspects of this Court’s summary judgment ruling. See, e.g., Dkt. 446 at 5 (“this Court (at
  Defendants’ urging) largely considered the 17 separately-dated reports as if they constituted a
  unified whole”); id. at 14 (“the wobbly factual leg” upon which this Court’s ruling ostensibly
  rested). But when they turn to the only questions the Eleventh Circuit directed this Court to
  address, their arguments rest entirely on three basic premises. First, as a procedural matter they
  assert they are “not constrained here by Rule 60(2)(b).” Id. at 8. Second, they contend that this
  Court’s summary judgment ruling turned on “the factual conclusion that the FBI possessed
  Report 166 at the time of” BuzzFeed’s publication, id. at 6, and, third, they maintain that two
  sentences within the Report “conflict” with that conclusion and would necessitate submission of
  that question to a jury. Id. at 7-8, 14. None of those premises is correct, and their Motion should
  be denied accordingly.
  I.       PLAINTIFFS’ MOTION IS SUBJECT TO RULE 60(b)(2)
           Quoting Fed. R. Civ. P. 60(b)(2), Plaintiffs acknowledge that the Report constitutes
  “newly discovered evidence” which they maintain “Plaintiffs could not, with reasonable




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  diligence, have discovered prior to” this Court’s entry of summary judgment.1 Indeed, Plaintiffs
  acknowledge that this is a Rule 60(b)(2) motion in all but name, and even urge the Court to
  analyze their motion under the Rule 60(b)(2) framework – except for its time limits. See Mot. at
  8 (“Though not constrained here by Rule 60(b)(2), it may be useful for the Court to consider the
  policies expressed by that rule here…”); id. at 10 (arguing that they acted with reasonable
  diligence “[e]ven under Rule 60(b)(2)”). They claim, however, that this Court “is not
  constrained here by Rule 60(b)(2)” because this motion “is governed by the explicit order of the
  Eleventh Circuit.” Id. at 8. But a remand order does not exempt Plaintiffs from the Federal
  Rules of Civil Procedure. See Jackson v. Los Lunas Comm. Program, 880 F.3d 1176, 1205 n.8
  (10th Cir. 2018) (“Of course, on remand, the district court is free to perform a Rule 60(c)(1)
  timeliness analysis …”). Nor does anything in the Eleventh Circuit’s remand order suggest that
  Plaintiffs have some unique right or this Court has some unique jurisdiction to ignore the Federal
  Rules once the case was remanded. To the contrary, the remand order simply allows Plaintiffs to
  “move the district court for relief that would allow the district court to supplement the record
  with the Horowitz Report.” D.E. 443 at 1.
           The only avenue available to Plaintiffs to do that is to file a motion under Rule 60(b)(2).
  Once the deadline for Rule 59 motions has passed, Rule 60(b)(2) is the only post-judgment
  motion available to a party who wishes to seek relief from a judgment based on “newly-
  discovered evidence.” Gonzalez v. Sec’y for Dep’t of Corr., 366 F.3d 1253, 1276 (11th Cir.
  2004) (“[T]he procedure for obtaining relief from a judgment at the district court level is set out
  in Rule 60(b).”), aff’d on other grounds sub nom. Gonzalez v. Crosby, 545 U.S. 524 (2005); see
  also United States v. Real Prop. & Residence Located at Route 1, Box 111, Firetower Rd.,
  Semmes, Mobile City, 920 F.2d 788, 791 (11th Cir. 1991) (Rule 60(b)(6) “applies only to cases


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    This term “refers to evidence of facts in existence at the time of the trial of which the aggrieved
  party was excusably ignorant.” NLRB v. Jacob E. Decker & Sons, 569 F.2d 357, 364 (5th Cir.
  1978). Because Plaintiffs seek to rely on the Report to establish what the FBI possessed in
  January 2017 – almost two years prior to judgment – the fact the Report itself was created after
  judgment makes no difference. See, e.g., Chilson v. Metro. Transit Auth., 796 F.2d 69, 70-72
  (5th Cir. 1986) (audit report created post-judgment was “newly discovered evidence” for
  purposes of Rule 60(b)(2) where the facts documented in the audit existed at the time of trial);
  Peacock v. Bd. of Sch. Comm’rs of City of Indianapolis, 721 F.2d 210, 214 (7th Cir. 1983)
  (“[N]ew affidavits from witnesses who could testify to prior events” fell under Rule 60(b)(2)
  because they “pertain[ed] to facts in existence at the time of trial”).

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  that do not fall into any of the other categories listed in parts (1)-(5) of Rule 60(b)”); Sneed v.
  Pan Am Hosp., 435 F. App’x 839, 841 n.3 (11th Cir. 2011) (“In any event, because Sneed’s
  motion was based on newly discovered evidence, it cannot be construed as a Rule 60(b)(6)
  motion.”). And regardless of the label a party may put on its post-judgment motion, if it “was
  filed for the reasons set out in Rule 60(b)(2)” and “seeks Rule 60(b) relief in substance,” the
  motion will be construed as a Rule 60(b)(2) motion. SEC v. N. Am. Clearing, Inc., 656 F. App’x
  966, 973 (11th Cir. 2016) (per curiam) (construing motion as Rule 60(b)(2) motion “because [it]
  was filed for the reasons set out in Rule 60(b)(2)”); Albert v. Ameris Bank, 517 F. App’x 900,
  904 n.4 (11th Cir. 2013) (“Although Albert’s first motion to reopen did not reference Rule 60(b),
  it sought Rule 60(b) relief in substance, and, therefore, we construe it as a Rule 60(b) motion.”).
           Moreover, the Eleventh Circuit’s order simply directs the parties and the Court to follow
  the very procedure this Circuit has long held must be followed for Rule 60(b)(2) motions filed
  during the pendency of an appeal. Like most Circuits, the law in this Circuit is that a district
  court retains jurisdiction for the limited purpose of considering Rule 60(b) motions while an
  appeal is pending. Mahone v. Ray, 326 F.3d 1176, 1180 (11th Cir. 2003); see also Lairsey v.
  Advance Abrasives Co., 542 F.2d 928, 931 (5th Cir. 1976). Its jurisdiction is constrained,
  however, in that a district court may only “deny the motion or indicate its belief that the
  arguments raised are meritorious. If the district court selects the latter course, the movant may
  then petition the court of appeals to remand the matter so as to confer jurisdiction on the district
  court to grant the motion.” Mahone, 326 F.3d at 1180. That is the same procedure the
  Eleventh’s Circuit’s order contemplates here. Dkt. 443 at 2 (“If the district court issues an order
  stating that the record should be supplemented and the Horowitz Report would alter the court’s
  previously issued summary judgment order, the parties shall seek a full remand of this case.”).2
  Thus, Plaintiffs’ motion should be treated for what it plainly is, a Rule 60(b)(2) motion seeking
  to reverse this Court’s judgment on the basis of newly discovered evidence.
  II.      PLAINTIFFS’ MOTION SHOULD BE DENIED AS UNTIMELY
           Turning to the requirements of that Rule, a request for relief from judgment based on
  newly discovered evidence “is an extraordinary motion and the requirements of [Rule 60(b)(2)]


  2
    In response to Plaintiffs’ Motion to Supplement in the Eleventh Circuit, Defendants likewise
  maintained that the Motion was in substance a Rule 60(b)(2) motion that should have been filed
  in the district court in the first instance, and that it would be time-barred if properly filed.

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  must be strictly met.” Waddell v. Hendry Cty. Sheriff’s Office, 329 F.3d 1300, 1309 (11th Cir.
  2003) (citation omitted). As an initial matter, Plaintiffs’ motion should be denied because they
  filed it more than one year after judgment. A Rule 60(b)(2) motion must be brought within “a
  reasonable time,” and no later than one year of judgment. Fed. R. Civ. P. 60(c)(1). Courts have
  no discretion to extend that deadline. Fed. R. Civ. P. 6(b)(2). The Eleventh Circuit routinely
  rejects Rule 60(b)(2) motions brought more than a year after judgment as untimely. See, e.g.,
  Imperato v. Hartford Ins. Co., 2020 WL 486776, at *2 (11th Cir. Jan. 30, 2020) (per curiam);
  Weiss v. Warden, 703 F. App’x 789, 792 (11th Cir. 2017) (per curiam); N. Am. Clearing, Inc.,
  656 F. App’x at 973; Lillo v. Bruhn, 522 F. App’x 508, 509 (11th Cir. 2013); Bradford v. Unum
  Life Ins. Co. of Am., 224 F. App’x 937, 938 (11th Cir. 2007).
           Here, the long-anticipated Report was released on December 9, 2019, so Plaintiffs still
  had ten days to bring a timely Rule 60(b)(2) motion. This gave them more than enough time, as
  illustrated by the fact that their own amici curiae contacted the undersigned counsel the next day
  and filed a brief addressing the Report on December 16. But Plaintiffs instead chose to wait
  three weeks, and then rather than bring what would have been an untimely Rule 60(b)(2) motion
  here they tried to bypass this Court and go straight to the Eleventh Circuit. Now that the issue
  has been properly joined in this Court, there is no authority outside of Rule 60(b)(2) that would
  permit this Court to grant a motion for post-judgment relief on the basis of newly-discovered
  evidence.3 Because Plaintiffs failed to seek relief within a year of judgment, their motion must
  be denied.4


  3
   The fact that Plaintiffs are forced to cite cases where courts supplemented the record before
  judgment only serves to illustrate that. See Mot. at 8; see, e.g., Paul v. William Morrow & Co.,
  380 F. App’x 957, 959 (11th Cir. 2010) (district court “lacked jurisdiction to grant relief under
  … Rule 60(b)(2) because [movant] did not file her motion within the applicable time limit”).
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    In the Eleventh Circuit, Plaintiffs argued it was “impractical” to expect them to file a motion
  addressing the 476-page Report in only ten days. That argument is both irrelevant, and wrong.
  It is irrelevant because the one-year deadline is not bounded by considerations of practicality.
  And it is wrong because not only do lawyers routinely digest such materials in far less time, but
  Plaintiffs’ Motion primarily concerns just two sentences which anyone familiar with this case
  could have located a few minutes after downloading the Report from Department of Justice’s
  website. The primary sentence Plaintiffs point to is located within a sub-section that is just two
  pages long and is clearly titled, both in the Table of Contents and the document, as “The FBI
  Receives Additional Steele Reporting Post-Election.” Likewise, both sentences Plaintiffs rely on
  can easily be found instantly by searching the Report using obvious terms like “Buzzfeed” or
  “166,” which only appear a handful of times. There was nothing impractical about filing a

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  III.     PLAINTIFFS ARE NOT ENTITLED TO RELIEF FROM JUDGMENT ON THE
           MERITS
           In addition to being time-barred, Plaintiff’s motion should be denied on its merits. As
  noted above, Plaintiffs acknowledge that Rule 60(b)(2) provides at least a relevant guidepost. A
  party seeking relief under that rule must satisfy five requirements:
           (1) the evidence must be newly discovered since the trial; (2) due diligence on the part
           of the movant to discover the new evidence must be shown; (3) the evidence must not
           be merely cumulative or impeaching; (4) the evidence must be material; and (5) the
           evidence must be such that a new trial would probably produce a new result.

  Waddell, 329 F.3d at 1309. Likewise, the Eleventh Circuit has applied similar criteria when
  considering whether to use its equitable powers to grant a motion to supplement the appellate
  record. See, e.g., Shahar v. Bowers, 120 F.3d 211, 213 (11th Cir. 1997) (denying a motion to
  supplement because the moving party “made no motions to compel the discovery of [those
  facts]” in the district court.); Animal Legal Def. Fund v. USDA, 789 F.3d 1206, 1221 n.9 (11th
  Cir. 2015) (“We also decline to admit the letter pursuant to our equitable powers because its
  admission would not establish beyond any doubt the proper resolution of the pending issues.”);
  CSX Transp., Inc v. City of Garden City, 235 F.3d 1325, 1330 (11th Cir. 2000) (considering
  “whether acceptance of the proffered material into the record would establish beyond any doubt
  the proper resolution of the pending issue.”). Apart from proffering “newly discovered
  evidence”, Plaintiffs cannot satisfy any of the other four requirements.
           A.        Plaintiffs Failed to Act With Due Diligence
           The relevant inquiry is whether Plaintiffs demonstrated “due diligence in obtaining the
  substance of [the] information” they now seek to put before the Court. Waddell, 329 F.3d at
  1309 (emphasis added). Here, what is at issue is information from the government about the
  FBI’s receipt and/or use of Report 166, in addition to what Defendants obtained during the
  discovery process. Plaintiffs’ motion should be denied because not only did they fail to seek any
  evidence about that subject during discovery, they affirmatively avoided every opportunity to do
  so and sought to thwart Defendants’ efforts to obtain such information.

  timely motion for post-judgment relief within ten days, nor would anything have prevented
  Plaintiffs from seeking leave to file any supplemental briefing supporting that motion if they
  thought that was warranted under the circumstances. In fact, after the Fridman plaintiffs filed a
  brief addressing the Horowitz Report on December 16, the parties there did just that by
  agreement and both filed additional briefs to address it.

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            As Plaintiffs’ motion acknowledges, Defendants made extensive efforts to try to discover
   information about the government’s use of the Dossier. By contrast, Plaintiffs made a tactical
   decision not to participate or even appear in the Defendants’ litigation against the government,
   which sought exactly the information they now say is so central to the case. Instead, they
   repeatedly argued to this Court that no matter what Defendants sought from the government, it
   was all irrelevant.5 And on that basis, they actually tried to stymie Defendants’ efforts by
   opposing the discovery extension Defendants needed while waiting for a decision on their
   motion to compel. See, e.g., D.E. 174 at 3. Indeed, even as they now argue in this motion that
   this evidence is crucial to the case, Plaintiffs cannot let go of this position – they still claim that
   “the vast majority of Defendants’ requests [from the government] were irrelevant to Defendants’
   defenses,” and approvingly quote the Department of Justice’s losing arguments opposing
   Defendants’ motion to compel. Mot. at 9-10. Having actively opposed obtaining “the new
   evidence” in the ordinary course, Plaintiffs cannot now claim to have been diligent in seeking it.
   See Waddell, 329 F.3d at 1310 (refusing to grant plaintiffs’ motion for relief based on newly
   discovered testimony from key witness because “[b]efore summary judgment was granted, it was
   only Defendants who were complaining about insufficient information from [the witness],” and
   “Plaintiffs never indicated dissatisfaction with the information they had in hand from” him).
            Plaintiffs’ only response is to try to turn the tables by baldly misrepresenting the course
   of Defendants’ litigation with the government. They assert that Defendants’ “fail[ed] to secure
   most of what they requested” and so any effort by Plaintiffs to obtain information “would have
   been futile.” Mot. at 9. Even on its face, this a strange argument – that because Defendants were

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     See D.E. 78 at 15:25-16:2 (“[T]hey’re seeking to subpoena the entire spy world of the United
   States and they’re making the case, I feel, larger than it really is.”); D.E. 109 at 40:6-11 (“[A]ll
   of these subpoenas and third party motion practice to the CIA, to every government agency
   possible, the DNC, is all fishing for some information about items that were contained in there
   that relate to Trump and everything else. None of that is directed to Aleksej Gubarev.”); D.E.
   154 at 23:24-24:2 (“[W]e think that a large portion of the third-party discovery that the
   defendants are trying to take in D.C. is really kind of irrelevant to the case.”); D.E. 145 at 4
   (“Plaintiffs contend that third party subpoenas and the letters of request issued by Defendants are
   futile because they are inconsistent with applicable law and will therefore result in an
   unnecessary delay of these proceedings.”); D.E. 186 at 5 (“It is Plaintiffs’ contention that, even if
   the Department of Justice complies with Judge Mehta’s Order, it will not provide the Defendants
   with the facts needed to succeed on a Fair Report defense, given that there will still be no
   evidence that President Obama was briefed on either the allegations concerning the Plaintiffs or
   the December memo as a whole.”).

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   supposedly overly diligent, Plaintiffs should be excused from exercising any diligence. In any
   event, Plaintiffs’ characterization of those proceedings is flatly wrong. Judge Mehta’s order
   granted Defendants’ motion to compel in its entirety, and the actual course of that litigation
   makes clear why Plaintiffs’ refusal to participate and active efforts to obstruct it weighs against
   granting the relief they now seek two years later.
            While Defendants initially served multiple subpoenas, they narrowed the scope of what
   they sought in their initial motion to compel, just as any party involved in a discovery dispute is
   encouraged to do. See BuzzFeed, Inc. v. Dep’t of Justice, 318 F. Supp. 3d 347, 354 (D.D.C.
   2018). Moreover, shortly before the motion to compel was actually heard, the government
   declassified and released almost all of the Nunes report and other public records concerning the
   Dossier. As a result, both Defendants and Judge Mehta agreed that the public release of that
   information effectively mooted most of the motion to compel – not because the discovery sought
   was irrelevant, but because the information had been just made publicly available. Defendants
   thus narrowed their motion further, and Judge Mehta’s order compelled the government to
   answer all of the few remaining items that were actually at issue by that point. Id. at 355, 364-65.
            Had Plaintiffs elected either to subpoena the government themselves, or at least to
   participate in the litigation over the scope of any resulting discovery, they would have been free
   to argue to Judge Mehta that the Priestap Declaration was inadequate, or that they should have
   had a right to conduct some limited cross-examination regarding its contents, or make any other
   argument that opposing parties routinely make regarding the scope of discovery sought from a
   non-party.6 Nor can it be said that such efforts would necessarily have been futile, given that the
   government ultimately withdrew its classification objection, id. at 356, and Judge Mehta rejected
   the government’s remaining arguments opposing any discovery. In short, having tactically
   eschewed every opportunity to seek information about the government’s treatment of Report 166
   and instead dismissed it as an irrelevant “fishing” expedition, D.E. 109 at 40:6-11, Plaintiffs have
   failed to show “due diligence on the part of the movant to discover the new evidence” they now
   wish to rely on. See Shahar, 120 F.3d at 213 (refusing to admit newly-discovered evidence for
   lack of diligence because movant “agreed to forego” seeking it during discovery).



   6
     For example, although Plaintiffs subpoenaed Christopher Steele, Defendants fully participated
   in the resulting litigation in the U.K. and sought the right to ask questions about specific topics.

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            Plaintiffs could also have sought more information about the government’s use of Report
   166 from Christopher Steele. Here too, Plaintiffs misrepresent the circumstances. Plaintiff’s
   counsel asked Steele at his deposition whether he had provided Report 166 to the FBI, the CIA,
   and/or the Department of Justice. D.E. 446-7 Ex. B at 121:5-126:17. The presiding officer
   found the question to be properly within the scope of the deposition the UK courts had ordered,
   but Steele still refused to answer – the only time during the deposition Steele refused to answer
   questions the examiner ruled were properly put to him. But Plaintiffs never sought to compel
   him to comply with that ruling. This too shows a lack of diligence. See, e.g., Shahar, 120 F.3d
   at 213 (denying motion to supplement appellate record for lack of diligence because moving
   party “made no motions to compel the discovery” of the information at issue).7
            Finally, Plaintiffs argue in their motion that they had no obligation to exercise any
   diligence because “it was Defendants’ burden to prove every element of their Fair Report
   Privilege affirmative defense.” Mot. at 9. That is a rather frank admission that they did not
   exercise any diligence, but in any event that is not how litigation works. Parties can and
   routinely do seek evidence both to support their own claims and defenses and to rebut those of
   their adversaries. For example, Defendants expended considerable resources to discover
   evidence relevant to elements of Plaintiffs’ defamation claim like falsity and damages, both
   issues on which Plaintiffs bear the burden of proof. But if a party makes tactical decisions to
   forego discovery, it must accept the consequences and may not change its mind post-judgment.
   See, e.g., Brown v. Petrolite Corp., 965 F.2d 38, 50 (5th Cir. 1992) (holding that defendant was
   not entitled to relief from judgment in defamation case based on newly-discovered evidence on
   issue of falsity because it “could have discovered it earlier by exercising due diligence”).
             B.       The Two Sentences in the Report At Issue Are, at Most, Impeachment
                      Evidence
            Next, Plaintiffs also cannot meet the requirement that “the evidence must not be merely
   cumulative or impeaching.” Waddell, 329 F.3d at 1309. While Plaintiffs’ motion often refers to

   7
     Plaintiffs attach a declaration from their U.K. counsel, Mr. Loble, in an effort to show that
   seeking to compel further testimony from Mr. Steele would have been “an expensive fool’s
   errand.” Mot. at 10; D.E. 446-8. But read carefully, the declaration establishes no such thing.
   Rather, it states that the first, and potentially most significant, step in the process would have
   simply been for Mr. Steele to ask his former UK government employer whether it wished to
   issue a certificate objecting to the testimony. D.E. 446-8 ¶¶ 15-17. But Plaintiffs did not even
   set in motion that initial step.

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   the “Report” as a whole, most of the Report would be merely cumulative because it lays out in
   greater detail than the evidence already in the record just how central the Dossier was to
   government activity. The Report describes months of government activity involving the Dossier,
   including an extensive FBI investigation and a major inter-agency debate about how to include
   its content in presidential briefings, and the close relationship between the FBI and Christopher
   Steele whereby “as a practical matter” Steele continued to function as an FBI source well into
   2017 because the FBI continued to solicit and receive his reporting for “months” after the 2016
   election. See Report at 95-104, 108-20, 175-96, 203.
            The crux of Plaintiffs’ motion is that one sentence and one footnote in the Report
   supposedly “conflict with Priestap’s declaration in this case that the FBI ‘possess[ed]’ Report
   166 ‘prior to 5:20 p.m. EST on January 10, 2017.’” Mot. at 7-8. As set out below, Plaintiffs are
   reading these tea leaves in the Report for much more than they are worth – the Report does not in
   fact contradict the Priestap Declaration. Even if it did, however, newly-discovered evidence
   offered because it purportedly “conflict[s] with” an existing affidavit is classic impeachment
   evidence, and it cannot justify relief from judgment under Rule 60(b)(2). See, e.g., McGhee v.
   Georgia, 204 F. App’x 809, 810-11 (11th Cir. 2006) (refusing to grant relief from judgment that
   relied on coroner’s report based on newly-discovered report “challenging the veracity of the
   coroner’s report” because the newly discovered report “is cumulative and, at most,
   impeaching”); Sellers v. Mineta, 350 F.3d 706, 716 (8th Cir. 2003) (newly-discovered
   employment records did not justify relief from plaintiff’s judgment on sexual harassment claim
   because “even if the records showed that [plaintiff] did not work the night of [the first alleged
   harassment], the records would be relevant to the claims … only as impeachment evidence” of
   her sworn testimony that she did work then); Diaz v. Methodist Hosp., 46 F.3d 492, 494-96 (5th
   Cir. 1995) (in negligence action that “turned on” whether hospital could have done blood tests
   over the weekend, newly-discovered affidavit that the hospital could do the test on the weekend
   did not support Rule 60(b)(2) relief because it “at best, impeaches [earlier] testimony that [the
   test] could not be performed over the weekend”). Because even under Plaintiffs’
   characterization of it the Report is being offered, at most, to impeach Assistant Director
   Priestap’s testimony, it cannot justify the extraordinary remedy Plaintiffs seek here.
            C.        The Report is Not Material Evidence and Would Not Produce a New Result




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            Plaintiffs also cannot satisfy the fourth and fifth requirements for relief from judgment –
   that the portions of the Report they seek to rely on would be evidence material to the application
   of the privilege, and they would probably produce a different result even if they were material.
                      1.       The Report does not contradict the Priestap Declaration
            The Report does not “conflict with” the Priestap Declaration. To claim it does, Plaintiffs
   try to put words in the mouth of the Inspector General that are not simply not there. But when
   the actual words of the Report are considered, Plaintiffs are incorrect.
            Then-FBI Assistant Director E.W. Priestap unambiguously stated in his declaration that
   the FBI “possess[ed]” Report 166 prior to the time it was published by BuzzFeed. Priestap is
   also a primary, if not the primary, source of information in the Report. The Report explains that
   Priestap personally approved the opening of the “Crossfire Hurricane” investigation, Report at
   iii, and his name appears in the Report more often than former Director James Comey (more than
   150 times). But the Report never suggests that Priestap previously provided false testimony
   about this point or any other. Nor does the Report ever state the FBI did not possess Report 166
   prior to its publication by BuzzFeed.
          Rather, by its own terms the Report focused solely on a more specific issue: whether or
   how the FBI received Steele’s reports either “directly” from Steele himself, or from “third
   parties” who were not themselves working with the FBI on any Russia-related election matters –
   specifically Senator John McCain, Bruce Ohr, and Mother Jones reporter David Corn. See
   Report at 94, 103-04, 116-17, 175-76. The Report answers those questions, including by noting
   in one portion of a footnote that “[o]ne report that was not provided to the FBI directly or via
   third parties was published by BuzzFeed,” Report at 94 n.215, and more than 80 pages later it
   repeats that Report 166 “was another report that had not been shared with the FBI.” Id. at 176.
   The only thing that might be inferred from the Report, therefore, is that the Inspector General did
   not find that the FBI received Report 166 either from Steele or the type of outside “third party” it
   discusses prior to BuzzFeed’s publication of the Dossier.
            Otherwise, the Report expressly disclaims any intent to try to document all the specifics
   of how Steele’s reports may also have been provided to or were circulating within all members of
   the US intelligence community. See Report at 12 n.18 (“In this review, we also did not seek to
   assess the actions taken by or information available to U.S. government agencies outside the
   Department of Justice, as those agencies are outside our jurisdiction.”). Moreover, the Report


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   explains that by December 2017 the FBI was participating in a large, multi-agency task force
   under the direction of the ODNI to assess information about Russian interference in the election,
   Report at 177-81, and notes that other agencies like the CIA and NSA conducted their own
   analysis of Steele’s reporting that was discussed within the task force, including with the FBI.
   Id. at 178. That is consistent with the summary judgment record in this case, which includes the
   declaration of Edward Gistaro, a Deputy Director at ODNI, who on behalf of ODNI, NSA, and
   CIA confirmed those agencies had a document responsive to a FOIA request seeking “a two-
   page synopsis [which] included allegations derived from a 35-page Dossier” subsequently
   published by BuzzFeed. D.E. 214-40 ¶¶ 11-14. The record here also establishes that Report 166
   was given to the official principally responsible for Russia-related matters at the National
   Security Council well before BuzzFeed published it, D.E. 214-16 at 117:12-122:11. And even
   focusing on the FBI alone, the Report never purports to assert that no one in the FBI ever saw,
   possessed, or was aware of Report 166 at any point during the course of all of that activity, and
   certainly contains no hint that testimony previously provided by Priestap on this point under
   penalty of perjury should be discredited. For this reason as well, Plaintiffs’ motion should be
   denied.
             2.     The two sentences of the Report at issue are not admissible for the truth of their
             contents
             Even if the Report did contradict the Priestap Declaration, however, the two sentences at
   issue would not be admissible here for the truth of their contents. Plaintiffs claim that the Report
   is subject to judicial notice “as a U.S. government document.” Mot. at 11. Certainly the Court
   may take judicial notice of the fact that the Report was issued by the Inspector General’s office.
   Moreover, if not cumulative then many, perhaps even most, of the factual statements within the
   Report might be admissible for their truth, at least where they are consistent with other evidence
   that has emerged about these events. But the fact that some or most facts within a public report
   may be admissible does not mean that the whole report is, or that all factual statements within it
   are. See, e.g., Beech Aircraft Corp. v. Rainey, 488 U.S. 153, 167 (1988).
             Indeed, that principle is exactly what guided Defendants when they asked this Court to
   admit only certain specific factual statements within the Nunes and Schiff memos. Plaintiffs
   misleadingly imply that Defendants sought the admission of, and the Court admitted, the entire
   memos. Mot. at 11-12 & n.11. Not so. Rather, Defendants only relied on, and the Court only
   admitted, specific discrete facts within those memos that were either common to both or not

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   disputed between them, and Defendants certainly did not seek the admission of anything
   disputed by other sworn testimony. That is because Defendants explicitly recognized that
   statements in government documents, including factual statements, cannot be admitted for their
   truth if it can be shown that “the source of information or other circumstances indicate a lack of
   trustworthiness.” D.E. 243 at 2 n.1 (quoting Fed. R. Evid. 803(8)).
            Applying the same criteria here, regardless of whether Plaintiffs are asking the Court to
   admit the two sentences at issue under Fed. R. Evid. 201 (its power to take judicial notice of
   adjudicative facts) or Fed. R. Evid. 803(8) (the hearsay exception for public records and
   documents), their request should be denied. “Indisputability is a prerequisite” to judicial notice,
   Grayson v. Warden, Comm’r, Alabama Doc, 869 F.3d 1204, 1225 (11th Cir. 2017) (citation
   omitted), even for government documents and reports. See, e.g., Lee v. City of Los Angeles, 250
   F.3d 668, 689 (9th Cir. 2001) (holding that district court erred when it “took judicial notice of
   disputed facts stated in public records.”). If the Report somehow does say that the FBI did not
   possess Report 166, that claim is certainly not indisputable – Plaintiffs themselves claim it
   contradicts testimony made upon personal knowledge on penalty of perjury.
            The same is true under Rule 803(8). If, for example, the Report had purported to
   investigate whether the Priestap Declaration was mistaken, concluded that it was and explained
   why, that might constitute the indicia of trustworthiness that is a prerequisite for admissibility.
   But the Report does not remotely purport to do that. Rather, the two isolated sentences in the
   Report relied on by Plaintiffs are entirely unsourced and never address the Declaration, and thus
   lack the clarity and indicia of trustworthiness that could support admissibility for the purpose of
   impeaching sworn testimony based on personal knowledge, especially in these circumstances.8
   See, e.g., Smith v. Pena, 1998 WL 164774, at *12 (D.D.C. Mar. 31, 1998) (finding statements in
   government report to be untrustworthy because they conflicted with sworn testimony from key
   subjects); Humane Soc’y of United States v. Hanor Co. of Wisc., LLC, 289 F. Supp. 3d 692, 715
   (E.D.N.C. 2018) (“Accordingly, while the 2017 EPA Office of Inspector General Report does
   itself serve as evidence of the Office of Inspector General’s findings, conclusions, and


   8
    It bears noting that the Priestap Declaration was made in response to a court order in a closely
   watched case raising politically sensitive issues, in which DOJ attorneys answerable to the court
   selected Priestap as the declarant, produced the Declaration, and had no interest in or incentive to
   provide information potentially helpful to Defendants – if anything, quite the opposite.

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   recommendations made in 2017, the statements attributed to unspecified and unidentified ‘EPA
   managers’ are not, without more, admissible for the truth of the matter asserted.”); cf. Gess v.
   United States, 952 F. Supp. 1529, 1534 n.8 (M.D. Ala. 1996) (finding report to be trustworthy
   partly because “it was never contradicted by the United States Government”). Indeed, the Report
   has already been subject to two sets of corrections and revisions since it was issued. See Ex. 12.
            Finally, for much the same reasons those two sentences may also be excluded solely on
   the basis of Rule 403, in that their probative value is substantially outweighed by a danger of
   “unfair prejudice, confusing the issues, [and] misleading the jury.” Fed. R. Evid. 403. Even if
   the accuracy of the Priestap Declaration was potentially dispositive in this case, which for the
   reasons discussed below it is not, Plaintiffs’ position is that a jury should be asked to choose
   between two pieces of paper, one a simple and direct declaration made under penalty of perjury
   and the other two isolated sentences that appear 80 pages apart from each other within a 476-
   page report. On its face, it is difficult to see how a jury could find that exercise anything other
   than hopelessly confusing. Moreover, in order to even attempt to do that, as the arguments
   herein illustrate a jury would likely need to read most of the Report’s remaining 476 pages in
   order to understand the full context in which those isolated sentences are presented. But that
   would surely be prejudicial and misleading, as the Report is full of cumulative or irrelevant
   information, hearsay, and otherwise inadmissible material. Finally, these circumstances further
   underscore why it would be inequitable to reward Plaintiffs’ decision to bypass a discovery
   process that might have produced information more fully informing the contents of the Priestap
   Declaration – all of which they still maintain is actually immaterial and irrelevant to the fair
   report privilege – and allow them to instead to use an enigmatic and highly confusing snippet of
   a lengthy report after judgment has been entered.
             3.       In any event, Defendants would still be entitled to summary judgment
                      a.       The Fair Report Privilege
            Finally, even if the two sentences at issue were admitted and construed as Plaintiffs urge,
   they still would not “produce a new result” in this case. Indeed, it is striking that much of the
   argument in Plaintiffs’ motion challenges supposed errors in this Court’s reasoning on summary
   judgment that have nothing to do with new evidence.9 Their motion even incorporates by


   9
    See Mot. at 3 n.3 (“And, as Plaintiffs have argued on appeal, even if the FBI had possessed
   Report 166 at the time of publication, that was not sufficient, in itself, to satisfy Defendants’

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   reference their entire Eleventh Circuit briefs, filed months before the Report was released. See
   Mot. at 10 n.10.10 But Plaintiffs may not use this motion to “ask[] this Court to reconsider its
   ruling with respect to [their] claims, notwithstanding the ‘new evidence.’” Stevens v. Lynch,
   2016 WL 10950435, at *3 (N.D. Ga. Feb. 29, 2016), aff’d, 877 F.3d 1293 (11th Cir. 2017); see,
   e.g., Am. Bankers Ins. Co. of Fla. v. Nw. Nat’l Ins. Co., 198 F.3d 1332, 1338 (11th Cir. 1999).
            When not essentially seeking reconsideration, the central premise of Plaintiffs’ motion is
   that the Report’s statements about Report 166 “undercut[] a key factual finding made by this
   Court” in its summary judgment decision because it “has fully kicked out the wobbly factual leg
   upon which the Court decided that Report 166 might somehow have been part of an official
   proceeding.” Mot. at 12-14. While we are inclined to leave it to the Court to interpret its own
   summary judgment order, Defendants respectfully maintain that summary judgment would be
   warranted, and would be consistent with the Court’s prior reasoning, regardless of whether the
   Priestap Declaration were to be considered – and all the more so if the Inspector General’s
   Report were to be considered, for either of two reasons.
            First, as discussed above, the record contains unrebutted evidence that other members of
   the IC involved in advising and briefing the President about Russian election interference had
   Report 166 before Buzzfeed published it, so whether or not the FBI was among them would
   make no difference to the application of the privilege.11 Second, even if that evidence was also

   burden” to establish the privilege); id. at 5 (“[I]n its Summary Judgment Order, the Court (at
   Defendants’ urging) largely considered the 17 separately-dated reports as if they constituted a
   unified whole, such that it deemed investigation of any information in any of them to be akin to
   investigation of all of the information in every report”); id. at 10 (arguing that evidence on
   summary judgment “failed to actually establish the facts Defendants needed to meet their
   burden”); id. at 14 (referring to “the wobbly factual leg upon which the Court decided that
   Report 166 might somehow have been part of an official proceeding”).
   10
     As if to prove the point, Plaintiff’s amici – the plaintiffs in the related New York action – have
   re-filed their Eleventh Circuit briefs here as well. See D.E. 449-1, 449-2. Those briefs also long
   predate the Report, so their only conceivable purpose here is to urge reconsideration of this
   Court’s original summary judgment order. Moreover, their amici briefs just repeat the same
   arguments that were rejected in their case against BuzzFeed by the New York trial and appellate
   court, and they even further invite this Court to rule those New York courts were “incorrect.”
   D.E. 449-2; see also Fridman v. BuzzFeed, Inc., 172 A.D.3d 441 (N.Y. App. Div. 2019).
   11
     Notably, in their Motion to the Eleventh Circuit Plaintiffs argued the Report should change the
   result here because “Report 166 clearly could not have been part of any ‘official proceeding’ if
   no government agency even knew about it at the time of publication. The only evidence that the
   District Court could have relied on in finding that any government agency even possessed Report

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   ignored, the record establishes that Steele drafted Report 166 specifically for “US investigative
   authorities,” to be sent to them via Senator McCain, because Steele knew the Senator played a
   major role in national security affairs. D.E. 214-19 at 98:23-99:4, 133:12-136:13; D.E. 214-20 at
   148:5-150:18, 156:2-11, 178:15-179:2. The Inspector General’s Report also makes it clear that
   at the very time he wrote Report 166, Steele “as a practical matter” was still functioning as an
   FBI source. Report at 177-81. Report 166 by its own terms was merely a follow-up to reports
   Steele had previously written and provided to the FBI, including through Senator McCain,
   related to alleged activities of President Trump’s former attorney, Michael Cohen. So Steele sent
   a copy for that purpose (via Fusion GPS) to David Kramer (and a British national security
   official), only because he understood Kramer to be acting as “the nominated intermediary of
   Senator McCain.” D.E. 214-19 at 133:12-136:13, 138:22-25. In doing so, Steele used the same
   route to provide the FBI with his reporting that he had just taken a couple of weeks earlier – via
   Kramer and Senator McCain, after the former Senator had specifically asked Kramer to travel to
   the UK and obtain it. D.E. 214-16 at 26:19-25, 35:14-24, 42:23-43:11, 86:23-87:18, 94:5-95:4.
            The record also makes clear that Kramer not only accepted Report 166, but planned to
   deliver it to Senator McCain, and had not yet done so only because the Senate was in recess. Id.
   at 106:14-19. In the meantime, Kramer delivered it directly to the White House official
   responsible for Russian affairs, as well as members of Congress. Id. at 117:12-122:11; D.E. 214-
   19 at 83:9-16. And the Report confirms that the FBI as part of its “Crossfire Hurricane”
   investigation was intensely investigating all aspects of Steele’s reporting, both before and after
   BuzzFeed published the Dossier, Report at 102, 175, 177-79, 195-96, including at some point the
   specific allegations in Report 166 about Michael Cohen travelling to Prague to discuss to discuss
   paying “anti-Clinton hackers” – the very allegations Plaintiffs are suing over. Report at 176.
            Thus, even if the Priestap Declaration and the evidence about other members of the IC
   were ignored, it would be undisputed that by January 10, 2017, Report 166 had already reached
   the government and, at the very least, was in the process of reaching the FBI through the same
   channels that Steele’s previous reports had travelled so that they could be included in its ongoing
   election investigation – and that it actually was included in that investigation. Given the integral


   166 at the time of Buzzfeed’s report was the affidavit of Priestap . . .” Ex. 11 at 23. Defendants’
   Opposition pointed to evidence that other agencies did possess the Report, and now in this Court
   Plaintiffs have pivoted to claiming the privilege turns solely on the FBI.

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   role that Steele, McCain, Kramer and multiple government agencies played in the whole course
   of the “official proceedings” concerning the Dossier and Russia’s election interference, that is
   more than sufficient to satisfy the fair report privilege. Moreover, because the FBI went on to
   specifically include Report 166 in that investigation, the privilege applies even if were the case
   that Report 166 was still working its way through those channels to the FBI on January 10.
   Courts in analogous circumstances have applied the privilege where a discrete piece of
   information was clearly part and parcel of a whole course of conduct integral to an official
   proceeding. For example, New York courts have applied the privilege to reports of information
   to be included in judicial proceedings before it was actually included in a court filing, as long as
   it ultimately was. See Hudson v. Goldman Sachs & Co., 304 A.D.2d 315, 315-16 (N.Y. App.
   Div. 2003) (since official proceeding had commenced, privilege applied where a party had told a
   newspaper its position that would be taken in pleading before it was filed in court); Tacopina v.
   O’Keefe, 2015 WL 5178405, at *4 (S.D.N.Y. Sept. 4, 2015) (“In certain circumstances,
   publication of legal documents that have not yet been filed may be protected by the fair reporting
   privilege. New York courts have held that statements to the press regarding the litigation
   position a party intends to take are protected by New York Civil Rights Law § 74, even where
   the documents containing the position have not yet been filed, so long as the party ultimately
   takes the position in the litigation.”), aff’d, 645 F. App’x 7 (2d Cir. 2016); see also Global Relief
   Found., Inc. v. N.Y. Times Co., 390 F.3d 973, 985 (7th Cir. 2004) (report that government
   blocked charity’s assets based on terrorism links “was prescient, not inaccurate,” because that
   did, in fact, happen a few months after the report was broadcast).
            This Court’s summary judgment analysis focused on the fact that “Report 166 discusses
   two issues that were indisputably the subject of official action,” including “allegations of
   cooperation between Trump’s ‘team’ and Russian operatives.” D.E. 388 at 17. The Report
   further underscores that this was correct, and it therefore does not change the result here.
            Finally, Plaintiffs somewhat remarkably argue that reversing summary judgment on the
   basis of the Report would promote New York public policies supporting the fair report privilege.
   While we believe their arguments mischaracterize New York policy, even on their face their
   arguments show why the opposite is the case. They note a concern about publishing materials
   that were never investigated, Mot. at 15, but the Report makes clear that the entire Dossier,
   including Report 166, was investigated. They also suggest the Report dismissed Steele’s


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   reporting as “common innuendo” that merely “overlapp[ed]” official proceedings. Id. To the
   contrary, the Report dedicates hundreds of pages to explaining just how central Steele’s reporting
   was to the FBI’s investigation into the 2016 election, as well as the interactions between multiple
   national security agencies assessing Russian interference in the election. And like any Inspector
   General’s report, its principal purpose is to assess the propriety of the government’s conduct
   concerning the Dossier and make recommendations for policy changes going forward.
            As this Court has already found, “the press also provides the public with the information
   it needs to exercise oversight of the government, and with information concerning the public
   welfare,” and “the fair report privilege exists to protect the press as it carries out these
   functions.” D.E. 169 at 11. BuzzFeed published the Dossier as it was becoming clear that it was
   playing a meaningful role in government decision-making, and the Report underscores just how
   important that document had become by January 2017. And ever since, the government’s
   handling of the Dossier has been the subject of intense debate within the public and every branch
   of government charged with exercising oversight over official conduct. Indeed, the very fact that
   three years after BuzzFeed first published the Dossier the Inspector General deemed it necessary
   to publish a 476-page report assessing the government’s conduct with it only underscores why a
   privilege whose function is to provide the public with the actual document that has been at the
   heart of three years of debate over government conduct was properly applied here.
                      b.       Other grounds for summary judgment
            Finally, even if the Report was admitted and somehow changed the Court’s fair report
   ruling, the ultimate result should still be no different because Defendants should be entitled to
   judgment on the other grounds raised in their summary judgment motion, which the Court did
   not reach. See D.E. 214 at 12-20; D.E. 243 at 6-11. Rather than repeat those grounds here, if the
   Court deems it necessary to consider them Defendants simply refer it to their summary judgment
   briefs and the corresponding portions of the summary judgment record discussed therein.
                                              CONCLUSION
            For the foregoing reasons, Plaintiffs’ motion should be denied.

    Dated: April 6, 2020                       Respectfully submitted,

                                               /s/ Katherine M. Bolger
                                               Katherine M. Bolger
                                               Nathan Siegel

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                                       CERTIFICATE OF SERVICE
            I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
   was served via CM/ECF of all counsel of record on the 6th day of April 2020.



                                                   By: /s/ Adam Lazier
                                                           Adam Lazier




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